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                             IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MAINE

PERRY NYE,

               Plaintiff

                   v.                                   Case No. 1:17-cv-00285-GZS

LIFE INSURANCE COMPANY OF NORTH
AMERICA D/B/A CIGNA,

               Defendant


                           STIPULATION OF DISMISSAL WITH PREJUDICE

           Plaintiff Perry Nye and Defendant Life Insurance Company of North America (“LINA”),

hereby stipulate that plaintiff’s complaint in the above-styled action shall be and the same hereby is

dismissed with prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(ii). Each party shall bear his/its own

costs and expenses of litigation.

DATED: December 18, 2017



By: /s/ J. Jason Heinze                                By: /s/ Sara A. Murphy
J. Jason Heinze                                        Sara A. Murphy
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                                   CERTIFICATE OF SERVICE


        I hereby certify that on December 18, 2017, I electronically filed a Stipulation of Dismissal
using the CM/ECF system which will send notification of such filing(s) to the following:


J. Jason Heinze
Mariah Holder
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22 Monument Square
Suite 402
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                                             /s/ Sara A. Murphy
                                             Sara A. Murphy




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